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UNITED STATES DISTRICT COURT                                                           11/6/20
SOUTHERN DISTRICT OF NEW YORK


  United States,

                   –v–
                                                                                 20-cr-304 (AJN)
  Jesus Rivera,
                                                                                      ORDER
                         Defendant.




ALISON J. NATHAN, District Judge:

       A remote conference in this matter is scheduled for the week of November 16, 2020. As

soon as the information is available, the Court will provide the exact date and time of the

conference.



       SO ORDERED.

 Dated: November 6, 2020
        New York, New York                        ____________________________________
                                                            ALISON J. NATHAN
                                                          United States District Judge
